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                                Nebraska Court of A ppeals A dvance Sheets
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                                         IN RE ESTATE OF CHAMBERS
                                             Cite as 27 Neb. App. 398



                            In re Estate of Deena Chambers, deceased.
                        K ent A. Chambers, Personal R epresentative of the
                         Estate of Deena Chambers, deceased, appellant,
                                  v. State of Nebraska, appellee.
                                                  ___ N.W.2d ___

                                        Filed July 16, 2019.     No. A-18-876.

                 1. Decedents’ Estates: Taxation: Appeal and Error. On appeal of an
                    inheritance tax determination, an appellate court reviews the case for
                    error appearing on the record.
                 2. Judgments: Appeal and Error. When reviewing a judgment for errors
                    appearing on the record, the inquiry is whether the decision conforms
                    to the law, is supported by competent evidence, and is neither arbitrary,
                    capricious, nor unreasonable.
                 3. Decedents’ Estates: Parent and Child: Taxation: Appeal and Error.
                    Factual findings necessary in determining whether the requisite acknowl-
                    edged parent-child relationship of Neb. Rev. Stat. § 77-2004 (Reissue
                    2018) exists should be reviewed for sufficient evidence and should not
                    be disturbed on appeal unless clearly wrong.
                 4. Statutes: Words and Phrases. As a general rule, the word “shall”
                    in a statute is considered mandatory and is inconsistent with the idea
                    of discretion.
                 5. ____: ____. The word “may” when used in a statute will be given its
                    ordinary, permissive, and discretionary meaning unless it would mani-
                    festly defeat the statutory objective.
                 6. Decedents’ Estates: Taxation: Statutes: Proof. Statutes exempting
                    property from inheritance tax should be strictly construed, and the bur-
                    den is on the taxpayer to show that he or she clearly falls within the
                    language of the statute.
                 7. Decedents’ Estates: Parent and Child: Taxation. The following fac-
                    tors serve as appropriate guideposts to the trial court in making a deter-
                    mination of an acknowledged relationship of a parent under Neb. Rev.
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                      IN RE ESTATE OF CHAMBERS
                          Cite as 27 Neb. App. 398
   Stat. § 77-2004 (Reissue 2018): (1) reception of the child into the home
   and treatment of the child as a member of the family, (2) assumption
   of the responsibility for support beyond occasional gifts and financial
   aid, (3) exercise of parental authority and discipline, (4) relationship by
   blood or marriage, (5) advice and guidance to the child, (6) sharing of
   time and affection, and (7) existence of written documentation evincing
   the decedent’s intent to act as parent.
8. Judicial Notice: Records. Papers requested to be judicially noticed
   must be marked, identified, and made a part of the record.
9. Pleadings: Proof. Pleadings alone are not proof but mere allegations of
   what the parties expect the evidence to show.

  Appeal from the County Court for Furnas County: A nne M.
Paine, Judge. Affirmed.

  Jon S. Schroeder and Whitney S. Lindstedt, of Schroeder &amp;
Schroeder, P.C., for appellant.

  No appearance for appellee.

  Moore, Chief Judge, and Pirtle and Bishop, Judges.

  Per Curiam.
                      INTRODUCTION
   Kent A. Chambers, personal representative of the estate of
Deena Chambers, deceased, appeals from the determination by
the county court for Furnas County that Anthony K. Chambers,
as an individual beneficiary, did not qualify for preferential
inheritance tax treatment under Neb. Rev. Stat. § 77-2004(Reissue 2018). The court found that Kent failed to prove the
decedent stood in the acknowledged relation of a parent to
Anthony. Because the county court’s factual determination was
not clearly wrong, we affirm.

                      BACKGROUND
   Deena died testate in January 2018. Deena was a resident
of Furnas County, Nebraska, and she was survived by Kent,
her husband. Kent and Deena were married for a little over
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                    IN RE ESTATE OF CHAMBERS
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30 years and have no biological children. One of the devisees
in Deena’s will was Kent’s nephew, Anthony, who was born
in 1975 to Kent’s brother and the brother’s then-wife. A copy
of Deena’s signed, January 2009 will was filed in the county
court in February 2018. In the 2009 will, Anthony is named as
alternate personal representative and alternate trustee for all
trusts established by the will and is the residuary beneficiary
of the will.
   In March 2018, Kent, as personal representative, filed an
inventory for Deena’s estate in the county court. On June 12,
he filed a petition for determination of inheritance tax, along
with an inheritance tax worksheet, voluntary appearance, and
waiver of notice. Kent asked the court to “dispense with giving
of any further notice as provided by law; and upon hearing,
without delay,” determine the value of Deena’s assets and the
amount of inheritance tax. On the inheritance tax computation
portion of the worksheet, Anthony’s designated “Beneficiary
Relationship” was “Like a Child.” The Furnas County Attorney
signed the worksheet on May 25, under the printed para-
graph stating:
      I, the undersigned . . . County Attorney, hereby enter my
      voluntary appearance . . . in the above captioned proceed-
      ing and waive the service of notice upon me to show just
      cause, and furthermore waive all notice required by law
      of time and place of hearing for the determination of val-
      ues of property for inheritance tax purposes and for the
      purpose of assessing inheritance tax . . . . I have examined
      the foregoing Worksheet and have no objections thereto
      for inheritance tax purposes only.
   On June 22, 2018, Kent filed with the county court an affi-
davit from Anthony, detailing Deena and Anthony’s relation-
ship. Attached to the affidavit as an exhibit was a copy of an
unsigned draft of a February 2013 last will and testament of
Deena, naming Anthony as one of the beneficiaries. Anthony is
identified at three points in the draft will as having “been like
a child of [Deena’s] for his entire life.”
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                   IN RE ESTATE OF CHAMBERS
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   A hearing was held before the county court on July 23,
2018. At the hearing, Kent’s attorney stated that he had pre-
sented an inheritance tax worksheet to the county attorney,
who had the opportunity to review Anthony’s affidavit about
his relationship with Deena and to ask any questions of Kent.
According to Kent’s attorney, the county attorney “said he
was satisfied and signed off on it.” During the hearing, Kent’s
attorney asked the court to take judicial notice of Anthony’s
affidavit, “the will that is in the file,” the inventory, and
the inheritance tax worksheet. The court did so, but these
papers were not marked and made part of the record. The
only exhibits offered by Kent and received by the court were
copies of durable power of attorney documents for business
and for healthcare, in which Deena named Anthony as her
“alternate business attorney in fact” and “alternate . . . health
care power of attorney.” The court also heard testimony from
both Kent and Anthony about the relationship between Deena
and Anthony.
   Anthony’s parents divorced at some point in the mid-1980’s,
and Anthony’s father eventually drifted away from the family.
Anthony and his sister lived with his mother after the divorce.
Anthony was a frequent visitor to Kent and Deena’s home as
a child and into adulthood. Anthony estimated that he spent
the following number of days per year with Kent and then
with Kent and Deena (after age 10): 3 days per year prior to
age 10, “[r]oughly” 10 days per year between ages 10 and
15, “probably” 9 days per year between ages 15 and 20, and
“maybe” 3 days during 2017 (after he was married and started
having children).
   Kent testified that he felt he had treated Anthony like
a son during his life and that he loved him like a son.
Anthony’s middle name is Kent, and he assumes he was named
after his uncle. The record shows that they would do chores
together on Kent’s father’s family farm and that Kent taught
Anthony about various farm-related duties. Kent provided
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Anthony spiritual guidance, and the two shared interests
including movies, music, and the outdoors. Kent gave Anthony
Kent’s father’s gun because of their shared love of hunting
and pistols and because Anthony had a good relationship with
Kent’s father. Kent and Deena married when Anthony was in
approximately the seventh grade, and Anthony was a grooms-
man in their wedding.
   Kent indicated that their limited financial circumstances
did not allow him and Deena to provide Anthony with any
significant gifts beyond ordinary birthday gifts, but he testi-
fied that if they had had the money, they would have shared it
with Anthony. Likewise, Anthony did not remember any gifts
“beyond the normal gifts.”
   Kent was asked about whether he disciplined Anthony at
any time. He recalled an incident that happened when they
were moving irrigation pipe. According to Kent, Anthony was
“kicking up the dust in the air,” and Kent told him not to. It
“wasn’t a big deal” to Kent, but it was something that Anthony
remembered. Kent indicated that while he exercised parental
authority over Anthony at times while performing chores at the
farm and mentored him, Anthony was “not a difficult child”
and did not require much discipline. Anthony also testified
about this incident, indicating that it was a time where he “let
Kent down” and realized that his actions “could have been bet-
ter.” He described it as “an embarrassing moment” from which
he “learned quickly.”
   Kent testified that he and Deena shared time and affection
with Anthony and had many days of “family time” together,
although he wished “there had been more times.” He indi-
cated that it seemed like the times they did have together were
always good. Anthony spent time with Kent and Deena after
their marriage, and he felt that whenever he was there, it “was
just like before, it was a welcoming home.” They would eat
together, talk about things, and watch television “or whatever,”
and Anthony felt it was “always a fun time.” Anthony testified
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                   IN RE ESTATE OF CHAMBERS
                       Cite as 27 Neb. App. 398
that he learned a great deal about marriage, hard work, charac-
ter, and faith from them. Anthony is now married and has two
children, and they have had “many days of family time” with
Kent and Deena in which Deena would cook for all of them,
and Kent and Deena would engage in various activities with
the children.
   Kent testified about the unsigned 2013 draft will designating
property to Anthony and including language that acknowledged
Anthony was like a child to Deena. In 2013, Kent and Deena
asked their attorney to prepare wills for them. Although the
attorney prepared wills and sent them to Kent and Deena, they
did not sign the drafts of those wills at that time. According to
Kent, the wills were not signed in 2013 because “life is com-
plicated sometimes” and they were “embroiled in a lawsuit”
involving a tenant of Kent’s mother’s estate. He indicated fur-
ther that after the litigation was over, he “lost [his] dog” and
then Deena began having health issues, which shifted his focus
to taking care of her at home. Kent testified that he currently
has an up-to-date will that includes “the language . . . about
how close” he is to Anthony.
   On August 7, 2018, the county court entered an order find-
ing that Kent had not met his burden of proof to show that
the relationship between Deena and Anthony rose to the level
required by § 77-2004. Accordingly, the court instructed him
to submit an amended inheritance tax worksheet in conform­
ity with the court’s order. In reaching this determination, the
court analyzed case law factors for determining whether a
decedent stood in the acknowledged relation of a parent with
a devisee in order to qualify for preferential inheritance tax
treatment. The court found the following factors did not weigh
in favor of a parent-child relationship between Deena and
Anthony: the assumption of responsibility for support beyond
occasional gifts and financial aid, and the existence of writ-
ten documentation evincing decedent’s intent to act as par-
ent. The court also found the following factors did not weigh
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                   IN RE ESTATE OF CHAMBERS
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heavily in favor of a parent-child relationship: the reception
of the child into the home and treatment as a member of the
family, and the exercise of parental authority and discipline.
Finally, the court found that the relationship by blood or mar-
riage and the sharing of time and affection factors weighed
in favor of a parent-child relationship, and the advice and
guidance to the child factor weighed somewhat in favor of a
parent-child relationship.
   After analyzing the above factors and reviewing various
other cases applying the factors, the county court concluded:
         In most of the cases cited, the [d]ecedent exercised
     parental authority over the taxpayer—providing discipline
     and guidance over major life decisions such as school-
     ing, career choice, dating, and medical treatment, as well
     as providing financial assistance including things like
     ­co-signing on loans, partnering in businesses, providing
      help with school or housing. Later in life[,] the taxpayers
      often returned and provided assistance to the [d]ecedent
      as they grew elderly, taking them to the doctor and visit-
      ing them regularly.
         In the case at hand it is clear that [Anthony] was very
      close to Kent and Deena and benefitted greatly from his
      relationship with them as he was growing up. It is also
      clear that Kent and Deena shared great affection for
      [Anthony], having no children of their own, and enjoyed
      sharing their interests, passions and values with not only
      [Anthony] but also [his] family. Sadly, Deena passed
      away while she was young and still married so did not
      need assistance from [Anthony] for things like going to
      the doctor, etc.
         However, the Court cannot distinguish these facts from
      the facts in In re Estate of Malloy, [15 Neb. App. 755,
      736 N.W.2d 399 (2007)], wherein the Court found that
      it was not uncommon for families who farm and ranch
      together to form a close relationship and that their close
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                  IN RE ESTATE OF CHAMBERS
                      Cite as 27 Neb. App. 398
    bond was not out of the ordinary for family members in a
    rural society. The Court in that case found that to be true,
    even where the facts were such that [the devisee] had
    stayed in the [decedent’s] house for extended periods as
    a child, received financial assistance from [the decedent]
    and spent three-four days a week and all his holidays with
    [the decedent].
       While in no way diminishing the positive relationship
    between Deena and [Anthony], the Court is required to
    strictly construe statutory language exempting property
    from inheritance tax. The Court cannot find under these
    facts that the burden of proof has been met to show that
    the relationship rises to the level required by §77-2004.
  Kent subsequently perfected his appeal to this court.
                 ASSIGNMENTS OF ERROR
   Kent asserts that the county court erred in (1) requiring
a hearing on an inheritance determination when the county
attorney, on behalf of the county, approved the calculation,
voluntarily appeared, and waived notice of the inheritance tax
determination and (2) holding that the evidence did not estab-
lish that Anthony was a person to whom Deena, for more than
10 years prior to death, stood in the acknowledged relation of
a parent.
                   STANDARD OF REVIEW
   [1,2] On appeal of an inheritance tax determination, an
appellate court reviews the case for error appearing on the
record. In re Estate of Hasterlik, 299 Neb. 630, 909 N.W.2d
641 (2018). When reviewing a judgment for errors appearing
on the record, the inquiry is whether the decision conforms to
the law, is supported by competent evidence, and is neither
arbitrary, capricious, nor unreasonable. Id.   [3] Factual findings necessary in determining whether the
requisite acknowledged parent-child relationship of § 77-2004
exists should be reviewed for sufficient evidence and should
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not be disturbed on appeal unless clearly wrong. In re Estate
of Hasterlik, supra.
                            ANALYSIS
Decision to Hold Hearing.
   Kent asserts that the county court erred in requiring a hear-
ing on an inheritance determination when the county attorney,
on behalf of the county, approved the calculation, voluntarily
appeared, and waived notice of the inheritance tax determina-
tion. Kent argues that by signing the voluntary appearance and
waiver of notice on the inheritance tax worksheet, indicating
that he had no objection to the worksheet, the county attorney
bound the county to the facts detailed in the worksheet includ-
ing that Anthony fit the designation of being “Like a Child”
to Deena.
   We note, as did the county court, two relevant statutory
provisions. First, Neb. Rev. Stat. § 77-2018.03 (Reissue 2018)
provides:
         In all matters involving the determination of inherit­
      ance tax, notice served upon the county attorney shall
      constitute notice to the county and the State of Nebraska.
      It shall be the duty of the county attorney to represent the
      county and the State of Nebraska in such matters as its
      attorney. In so representing the county and the State of
      Nebraska, the county attorney is authorized, in addition to
      such other powers as he normally may exercise as attor-
      ney for the county, to enter into and bind the county and
      the State of Nebraska by stipulation as to any facts which
      could be presented by evidence to either the inheritance
      tax appraiser or the county court, and to waive service
      of notices upon him to show cause or of the time and
      place of hearing, and to enter a voluntary appearance in
      such proceeding, in behalf of the county and the State
      of Nebraska.
This statute, while authorizing the county attorney to stipulate
to facts regarding the determination of inheritance tax which
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                    IN RE ESTATE OF CHAMBERS
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could be presented by evidence to the county court, does not
require the court to accept the stipulated facts.
   Second, we note Neb. Rev. Stat. § 77-2018.02 (Reissue
2018), which concerns the procedure for determination of
inheritance tax in the absence of probate of the estate. With
regard to the requirement that the court hold a hearing on the
petition for determination of inheritance tax, and, as relevant in
this case, subsection (5) of § 77-2018.02 provides:
      If it appears to the county court that (a) the county attor-
      ney of each county in which the property described in
      the petition is located has executed a waiver of notice
      upon him or her to show cause, or of the time and place
      of hearing, and has entered a voluntary appearance in
      such proceeding in behalf of the county and the State of
      Nebraska, and (b) either (i) all persons against whom an
      inheritance tax may be assessed are either a petitioner
      or have executed a waiver of notice upon them to show
      cause, or of the time and place of hearing, and have
      entered a voluntary appearance, or (ii) a party to the
      proceeding has agreed to pay to the proper counties the
      full inheritance tax so determined, the court may dispense
      with the notice provided for in subsections (2) and (3) of
      this section and proceed without delay to make a deter-
      mination of inheritance tax, if any, due on account of the
      property described in the petition.
(Emphasis supplied.)
   In its August 7, 2018, order, after noting the above statutory
provisions, the county court observed that while the parties
may enter into stipulations concerning the evidence and waive
appearances, the court, ultimately, is responsible for determin-
ing the inheritance tax. We agree.
   The court also noted In re Estate of Malloy, 15 Neb. App.
755, 736 N.W.2d 399 (2007), where the court, on its own
motion, scheduled a hearing to determine inheritance tax.
In that case, after being devised a substantial portion of his
uncle’s estate, a nephew and another copersonal representative
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of the estate filed a petition for determination of inheritance
tax, and the court assessed inheritance tax against various par-
ties, including the nephew, whom the court taxed at the rate
for an immediate relative of the decedent under § 77-2004.
Subsequently, the value of the uncle’s estate increased, and
the nephew filed an amended petition for determination of
inheritance tax, again alleging that he qualified for preferen-
tial treatment under § 77-2004. The court, on its own motion,
scheduled a hearing to redetermine the inheritance tax. At the
hearing, the court received exhibits including the first inherit­
ance tax worksheet signed by the State, which allowed the
nephew to be taxed as a “Class I heir” under § 77-2004. In
re Estate of Malloy, 15 Neb. App. at 757, 736 N.W.2d at 401.
The parties stipulated that prior to signing the first worksheet,
the State was aware of how the nephew was being treated. The
State admitted that the nephew had provided it with affidavits,
also admitted into evidence at the hearing, attesting to the
closeness of the relationship between the uncle and nephew.
The State also admitted that it made a mistake in agreeing to
the initial tax worksheet by signing it.
   [4,5] Kent argues that In re Estate of Malloy is distin-
guishable because the county court in that case scheduled a
hearing only after the county attorney apparently refused to
sign the waiver form on the second inheritance tax work-
sheet. He argues that the county attorney had authority under
§ 77-2018.03 to bind the State and that because the county
attorney did so in this case, § 77-2018.02 does not support
the court requiring a hearing. Kent’s argument ignores the
language of § 77-2018.02(5), which provides that, under the
circumstances described in that subsection, the court “may
dispense with the notice provided for in subsections (2) and
(3) . . . and proceed without delay to make a determination
of inheritance tax.” (Emphasis supplied.) As a general rule,
the word “shall” in a statute is considered mandatory and is
inconsistent with the idea of discretion. State v. Irish, 298 Neb.
61, 902 N.W.2d 669 (2017). The word “may” when used in a
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statute will be given its ordinary, permissive, and discretion-
ary meaning unless it would manifestly defeat the statutory
objective. Holloway v. State, 293 Neb. 12, 875 N.W.2d 435(2016). Although the county attorney in this case signed the
waiver of notice, the decision of whether to dispense with
notice of a hearing was within the court’s discretion. Further,
§ 77-2018.02(5) still requires the county court to make a
determination of inheritance tax. It does not prevent the court
from holding a hearing, nor does it require the court to simply
accept the proffered inheritance tax worksheet.
   The court did not err in holding a hearing to determine the
inheritance tax due in this case. This assignment of error is
without merit.

Findings Under § 77-2004.
   Kent asserts that the county court erred in concluding that
the evidence did not establish that Anthony was a person to
whom Deena, for more than 10 years prior to death, stood in
the acknowledged relation of a parent.
   Again, we note, as did the county court, two pertinent stat-
utes. First, we note § 77-2004, which provides:
         In the case of . . . any person to whom the deceased
      for not less than ten years prior to death stood in the
      acknowledged relation of a parent, or the spouse or sur-
      viving spouse of any such persons, the rate of tax shall be
      one percent of the clear market value of the property in
      excess of forty thousand dollars received by each person.
      Any interest in property, including any interest acquired
      in the manner set forth in section 77-2002, which may be
      valued at a sum less than forty thousand dollars shall not
      be subject to tax. In addition the homestead ­allowance,
      exempt property, and family maintenance allowance shall
      not be subject to tax. Interests passing to the surviv-
      ing spouse by will, in the manner set forth in section
      77-2002, or in any other manner shall not be subject
      to tax.
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We also note Neb. Rev. Stat. § 77-2005 (Reissue 2018), which
provides:
         In the case of an uncle, aunt, niece, or nephew related
      to the deceased by blood or legal adoption, or other lin-
      eal descendant of the same, or the spouse or surviving
      spouse of any of such persons, the rate of tax shall be
      thirteen percent of the clear market value of the property
      received by each person in excess of fifteen thousand
      dollars. If the clear market value of the beneficial interest
      is fifteen thousand dollars or less, it shall not be subject
      to tax.
This is the provision that would apply to Deena and Anthony’s
relationship absent evidence that for not less than 10 years
prior to her death, Deena stood in the acknowledged relation
of a parent to Anthony.
   [6] Statutes exempting property from inheritance tax should
be strictly construed, and the burden is on the taxpayer to
show that he or she clearly falls within the language of the
statute. In re Estate of Hasterlik, 299 Neb. 630, 909 N.W.2d
641 (2018).
   [7] The following factors serve as appropriate guideposts to
the trial court in making a determination of an acknowledged
relationship of a parent under § 77-2004: (1) reception of the
child into the home and treatment of the child as a member
of the family, (2) assumption of the responsibility for sup-
port beyond occasional gifts and financial aid, (3) exercise of
parental authority and discipline, (4) relationship by blood or
marriage, (5) advice and guidance to the child, (6) sharing of
time and affection, and (7) existence of written documentation
evincing the decedent’s intent to act as parent. In re Estate of
Hasterlik, supra.
   [8,9] Initially, we note that the items judicially noticed by
the county court (Anthony’s affidavit, “the will that is in the
file,” the inventory, and the inheritance tax worksheet) were
not marked and made part of the record. Papers requested to
be judicially noticed must be marked, identified, and made a
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part of the record. In re Estate of Radford, 297 Neb. 748, 901
N.W.2d 261 (2017). Although these documents were filed in
the transcript, they are not evidence in this case. Pleadings
alone are not proof but mere allegations of what the parties
expect the evidence to show. Id.   Turning our attention to the evidence adduced at the hear-
ing with respect to the factors laid out above, we first address
those factors which the county court found did not weigh
in favor of a parent-child relationship between Deena and
Anthony: the assumption of the responsibility for support
beyond occasional gifts and financial aid, and the existence
of written documentation evincing the decedent’s intent to act
as parent.
   The evidence clearly showed that Kent worked with his
father and did not have a lot of extra money. Accordingly,
he and Deena did not provide financial support to Anthony
beyond occasional birthday gifts. Kent argues that this fac-
tor should only count against the finding of a parent-child
relationship “if the parent has money that could have been
given to the child.” Brief for appellant at 18. While the county
court’s finding that Kent and Deena did not provide finan-
cial support to Anthony was not clearly wrong, under the
circumstances of this case, we conclude that this factor is, at
best, neutral.
   With respect to written documentation, the county court
found no evidence of any written documentation that Kent
or Deena ever called Anthony their son, no oral declarations
that they considered him their child, and—other than “the
obviously favorable treatment” in Deena’s will—no writing
“evincing [an] intent to act as parent.” See In re Estate of
Hasterlik, 299 Neb. at 634, 909 N.W.2d at 644. In arguing
that there was such evidence, Anthony relies on the unsigned
2013 draft will with the “Like a Child” language, as well as
the 2009 will which provided for Anthony as a beneficiary.
Neither the 2013 unsigned draft nor Deena’s signed 2009 will
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was admitted as an exhibit at trial, but they were included in
the transcript. While there is an explanation in the record for
why Kent and Deena never signed the draft wills prepared for
them in 2013, the fact remains that Deena did not sign the
2013 draft and the “Like a Child” language is not included in
her 2009 will. Even if these two documents had been admit-
ted into evidence, we cannot say that it would amount to more
than slight evidence of a parent-child relationship between
Deena and Anthony.
   The county court found that these factors did not weigh
heavily in favor of a parent-child relationship: the reception
of the child into the home and treatment of the child as a
member of the family, and the exercise of parental author-
ity and discipline. Although Anthony visited Kent and then
Kent and Deena regularly throughout his life, he never actu-
ally lived with them, always residing with one or both of his
parents as a child. Anthony felt comfortable and welcome in
Kent and Deena’s home, but he did not stay with them for
extended periods. After marrying and having a family of his
own, he estimated that he visited them approximately three
times per year. Finally, the incident when Kent told Anthony
to stop “kicking up the dust in the air” while they were mov-
ing irrigation pipe was the only evidence of an instance of
Kent or Deena exercising parental authority or discipline over
Anthony. The county court was not clearly wrong in finding
that these factors did not weigh heavily in favor of a parent-
child relationship between Deena and Anthony.
   With respect to the remaining factors, Anthony is related to
Kent by blood and to Deena by marriage. It is clear that Kent
provided guidance to Anthony by teaching him about farming.
He also provided spiritual guidance, and Anthony testified that
he learned about marriage and relationships by spending time
with Kent and Deena. Clearly, Kent and Deena had a close
and caring relationship with Anthony. However, the county
court concluded that the evidence was insufficient to establish
                            - 413 -
         Nebraska Court of A ppeals A dvance Sheets
              27 Nebraska A ppellate R eports
                  IN RE ESTATE OF CHAMBERS
                      Cite as 27 Neb. App. 398
Kent and Deena acted in a manner toward Anthony that went
above and beyond the normal circumstances of the relationship
between an aunt and uncle and their nephew.
  We cannot say that the county court was clearly wrong in
determining that Kent failed to carry his burden of proof.
                       CONCLUSION
   Because the county court’s factual determination was not
clearly wrong, we affirm the order of the county court.
                                                   A ffirmed.
